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                  Exhibit N
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Thomas D’Ascanio




Hon. Nelson Román
The Hon. Charles L. Brieant Jr. Courthouse




Dear Honorable Nelson Román,

        I want to thank you for taking the time out of your day to read this letter. My name is
Thomas D’Ascanio, I am an employee of Dutchess Community College and a co-worker of
Aaron’s wife, Amanda Finn. My wife and I are friends of the Finns and I would like to express my
personal thoughts on how genuine of an individual Aaron is.

        I met Aaron back in 2018 at a cousin’s wedding. Funny enough, it was around a month
or two before his wife began working at the college, before I had a chance to know her as an
individual. Through the next couple of months, the four of us periodically hung out after work at
places throughout Dutchess County. Through the multiple trips and conversations, I began to
understand Aaron as a person, specifically how self-motivated, intelligent, caring, and generous
he was.

        When we went to bookstores, he was almost always perusing the various finance books
in the self-help sections. He would express that he wanted to make sure his family was
financially secured, that he had a retirement plan for him and his wife, a financial cushion for his
parents, and any preparations for having a child. During work hours, Amanda shared multiple
stories of the way he saves and works more hours to put more money into savings. From what I
was able to tell, it was never about himself, but for Amanda and his parents.

        Since Aaron and I first met, my wife has developed multiple conditions that have
rendered her disabled,                                     . She has gone through multiple
friendships over the last few years that have ended due to the lack of support or understanding
she has received from them. However, Aaron was very different. He would instead make sure
that she was feeling ok whenever we were out and would offer to change the plans if he noticed
she was in pain. During one of our most recent trips to Succoup Farms and the Trevor Zoo in
Millbrook, he would constantly check up on her and talk to her about the mobility aids he has
researched for his parents and how they may help her. He even genuinely regretted that he
didn’t bring his father’s wheelchair for her to use at the zoo, something that none of us ever
expected of him. We’ve had to cancel plans with them due to my wife’s health, which he has
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always understood and only wished for her to feel better. His attitude towards an individual’s
health is amazing and my wife has always felt comfortable around him, something that’s not
usually the case considering her own self-image regarding her health.

        Lastly, I have seen Aaron as an outstanding hard worker and business owner. I have
recently purchased a home which needed extensive work to accommodate my wife’s health
concerns. After consulting contractors and neighbors, I asked Aaron to see if he would take a
look and he agreed and came out within a few days. Not only did he take a look at the work, but
he immediately went to work on the house. He spent two long nights and would have never
stopped until the job was fully complete. He went above and beyond what we asked and would
have worked throughout the first night if I didn’t tell him to go home to rest. Throughout the
entire process, he took his time to teach me what he was doing and never considered my
hovering as a bother. He spent extra time talking to me about what he was doing and how he
was going to do it, recommended tools for me in case I needed to work on things in the future,
and offered me more cost-effective solutions to what needed to be done. I also found out how
affordable he was for any one of his clients.. Despite his skillset, he charges much less than the
average contractor in the area which I find to be extremely generous considering how much he
could make, especially in times like this. What was even more generous was that he just didn’t
charge us for the work, despite knowing he needs money.

        To wrap this all up, I hope this letter gives a brief overview of who Aaron is as a person.
He is a genuine person who has a very set philosophy and strongly believes in it. That
philosophy is very generous and selfless which affects not only his friends and family, but his
clients and coworkers. If I had time to write out the hundreds of conversations I had with
Amanda at work regarding the things he does at home for her, his child, and his parents, I
would. But that would require a few extra days. But seeing him care for his wife and child,
seeing him take pride in the work he does and the business he has grown, reminds me just how
good of a person he is, despite his mistakes. I hope to see him continue to care for his parents,
grow his business into a sustainable career, and raise his child alongside his wife. Again, thank
you for taking the time to read this.

Sincerely,

Thomas D’Ascanio
